









Dismissed and Opinion filed January 30, 2003









Dismissed and Opinion filed January 30, 2003.

&nbsp;

In The

&nbsp;

Fourteenth Court of Appeals

____________

&nbsp;

NO.
14-02-00545-CR

____________

&nbsp;

MATTHEW
THOMPSON, Appellant

&nbsp;

V.

&nbsp;

THE STATE OF TEXAS, Appellee

&nbsp;



&nbsp;

On
Appeal from the 262nd District Court

Harris County, Texas

Trial
Court Cause No. 894,889

&nbsp;



&nbsp;

M
E M O R A N D U M&nbsp;&nbsp; O P I N I O N

A written request to withdraw the notice of appeal, personally signed by
appellant, has been filed with this Court.&nbsp;
See Tex. R. App. P.
42.2.&nbsp; Because this Court has not
delivered an opinion, we grant appellant=s request.

Accordingly, we order the appeal dismissed.&nbsp; We direct the Clerk of the Court to issue the
mandate of the Court immediately.

PER CURIAM

Judgment rendered and Opinion filed
January 30, 2003.

Panel consists of Justices Edelman,
Seymore, and Guzman.

Do not publish ‑ Tex. R. App. P. 47.2(b).





